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              ATTACHMENT 2
      Dominion’s “Cease and Desist” Letter
               March 14, 2024
            Case 1:21-cv-02131-CJN-MAU Document 76-2 Filed 03/18/24 Page 2 of 3

                                             Susman Godfrey l.l.p.
                                              a registered limited liability partnership
                                                             SUITE 5100
                                                      1000 LOUISIANA STREET
                                                  HOUSTON, TEXAS 77002-5096
                                                            (713) 651-9366
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                                                         www.susmangodfrey.com
                                                            __________
            Suite 1400                                        Suite 3000                               32nd Floor
     1900 Avenue of the Stars                              401 Union Street                    1301 Avenue of the Americas
Los Angeles, California 90067-6029                 Seattle, Washington 98101-2683            New York, New York 10019-6023
         (310) 789-3100                                     (206) 516-3880                          (212) 336-8330
             __________                                        __________                               __________

                                  Jonathan J. Ross
                                                                                           E-Mail JROSS@susmangodfrey.com
                            Direct Dial (713) 653-7813




               March 14, 2024

               VIA E-MAIL
               jackert@idsinc.com
               Julian Ackert
               Managing Director
               iDiscovery Solutions

               Dear Mr. Ackert:

               I write urgently because I have been informed that counsel for Patrick Byrne,
               Stephanie Lambert, has or is migrating data from your e-discovery platform,
               including confidential documents of our client, Dominion Voting Systems, to
               another platform, run by Innovative Driven, per Mr. Byrne’s instructions. Ms.
               Lambert is in flagrant breach of the parties’ Amended Protective Order in U.S.
               Dominion, Inc. et al. v. Patrick Byrne (1:21-cv-02131), Att. A, having already
               transmitted confidential Dominion documents to a third-party Sheriff Dar Leaf and
               filed confidential documents without authorization on the public docket in her
               criminal case.

               Ms. Lambert is in continual breach of the Amended Protective Order and has made
               zero assurances that she will not continue to violate it. We have good cause to
               believe that she is transferring Dominion documents to Innovative Driven for the
               purpose of continuing to access and improperly disseminate them to third parties.
               This belief is further supported by the fact that as of March 12, 2024, Mr. Byrne’s
               prior counsel of record, the McGlinchey firm, has withdrawn their representation
               of Mr. Byrne; Ms. Lambert has now appeared as his counsel of record.

               On March 12, 2024, Dominion sought relief from the Court for this misconduct,
               Att. B. The parties intend to raise the issue in a hearing set for Monday, March 18,
               2024.

               Accordingly, pending the Court’s resolution of this issue, and so that you do
               not facilitate Ms. Lambert’s knowing and willful breach of the Amended
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 Mr. Julian Ackert
 March 14, 2024
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 Protective Order, we hereby demand that you immediately CEASE AND
 DESIST the migration of Dominion documents to anyone, including Ms.
 Lambert or Innovative Driven.

 Please confirm in response to this letter that you will securely segregate the
 Dominion productions and that you will not provide anyone, including Ms.
 Lambert, anyone from her firm, Patrick Byrne, or Innovative Driven, access to
 Dominion productions pending judicial resolution.

 Should you have any questions, please contact me.


 Sincerely,



 Jonathan J. Ross

  Enclosure:
